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                            UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION


  SCVNGR, INC. d/b/a LEVELUP
                                                        Case No. 6:15-cv-00493- JRG-KNM
                       Plaintiff,
  v.

  DAILYGOBBLE, INC. d/b/a RELEVANT

                       Defendant.



   PLAINTIFF’S UNOPPOSED MOTION TO WITHDRAW PLAINTIFF’S RENEWED
  MOTION FOR ENHANCED DAMAGES (35 U.S.C. § 284) AND ATTORNEYS’ FEES (35
  U.S.C. § 285) (DKT. NO. 154) AND PLAINTIFF’S SECOND RENEWED MOTION FOR
    CONTEMPT SANCTIONS AGAINST DEFENDANT DAILYGOBBLE, INC. D/B/A
                               RELEVANT (DKT. NO. 156)

         NOW COMES Plaintiff SCVNGR, Inc. d/b/a LevelUp (“LevelUp”) and respectfully

  requests the Court’s permission to withdraw Plaintiff’s Renewed Motion for Enhanced Damages

  (35 U.S.C. § 285) (Dkt. No. 154) and Plaintiff’s Second Renewed Motion for Contempt

  Sanctions Against Defendant DailyGobble, Inc. d/b/a Relevant (Dkt. No. 156).

                                                I.

         At this time, Plaintiff wishes to withdraw Plaintiff’s Renewed Motion for Enhanced

  Damages (35 U.S.C. § 285) (Dkt. No. 154) and Plaintiff’s Second Renewed Motion for

  Contempt Sanctions Against Defendant DailyGobble, Inc. d/b/a Relevant (Dkt. No. 156).

  Accordingly, Plaintiff hereby seeks to have these motions withdrawn.

                                                II.

         Defendant DailyGobble, Inc. d/b/a Relevant is unopposed to the relief requested in this

  Motion.
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         WHEREFORE, Plaintiff SCVNGR, Inc. d/b/a LevelUp respectfully requests the Court

  withdraw Plaintiff’s Renewed Motion for Enhanced Damages (35 U.S.C. § 285) (Dkt. No. 154)

  and Plaintiff’s Second Renewed Motion for Contempt Sanctions Against Defendant

  DailyGobble, Inc. d/b/a Relevant (Dkt. No. 156).

  Dated: January 21, 2019                        Respectfully submitted,

                                                  /s/ Eric H. Findlay
                                                 Eric H. Findlay
                                                 State Bar No. 00789886
                                                 Debby Gunter
                                                 State Bar No. 24012752
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                                                 Attorneys for Plaintiff SCVNGR, Inc. d/b/a
                                                 LevelUp


                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that all counsel of record who are deemed to have

  consented to electronic service are being served with a copy of this document via the Court’s

  CM/ECF system per Local Rule CV-5(a)(3) on January 21, 2019.


                                                            _/s/ Eric H. Findlay ___
                                                            Eric H. Findlay




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